                                        FORM 9
                     APPLICATION FOR ACCESS TO INFORMATION UNDER
                     PROTECTIVE ORDER BY OUTSIDE OR INSIDE COUNSEL



                       United States Court of Federal Claims
                                                           )
                                                           )
  SPACE EXPLORATION TECHNOLOGIES CORP.
 ______________________________,                           )
                                                           )         19-742-C
                                                                No. _________
                                Plaintiff,                 )
                                                           )          Lydia Kay Griggsby
                                                                Judge___________________
               v.                                          )
                                                           )
 THE UNITED STATES,                                        )
                                                           )
                                Defendant.                 )

                        APPLICATION FOR ACCESS TO INFORMATION UNDER
                       PROTECTIVE ORDER BY OUTSIDE OR INSIDE COUNSEL

             Charles L. Capito III
     1. I, ___________________________,          hereby apply for access to protected information covered by
the Protective Order issued in connection with this proceeding.
                                                                                   Morrison & Foerster LLP
     2. a. I [outside counsel only] am an attorney with the law firm of ___________________________
                                                      Orbital Sciences Corporation
          and have been retained to represent ______________________________,      ("Orbital")           a party to this
          proceeding.
          b. I [inside counsel] am in-house counsel (my title is: ________________________) for
          ___________________________, a party to this proceeding.
     3. I am [✔] am not [ ] a member of the bar of the United States Court of Federal Claims (the court).
     4. My professional relationship with the party I represent in this proceeding and its personnel is strictly
one of legal counsel. I am not involved in competitive decision making as discussed in U.S. Steel Corp. v.
United States, 730 F.2d 1465 (Fed. Cir. 1984), for or on behalf of the party I represent, any entity that is an
interested party to this proceeding, or any other firm that might gain a competitive advantage from access
to the information disclosed under the Protective Order. I do not provide advice or participate in any
decisions of such parties in matters involving similar or corresponding information about a competitor. This
means that I do not, for example, provide advice concerning, or participate in decisions about, marketing or
advertising strategies, product research and development, product design or competitive structuring and
composition of bids, offers, or proposals with respect to which the use of protected information could provide
a competitive advantage.
     5. I [outside counsel only] identify here (by writing “none” or listing names and relevant circumstances)
those attorneys in my firm who, to the best of my knowledge, cannot make the representations set forth
inthe preceding paragraph:121(
     6. I identify here (by writing “none” or listing names, position, and responsibilities) any member of
my immediate family who is an officer or holds a management position with an interested party in the


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proceeding or with any other firm that might gain a competitive advantage from access to the information
disclosed under the Protective Order.
_____________________________________________________________________________________
None


      7. I identify here (by writing “none” or identifying the name of the forum, case number, date, and
circumstances) instances in which I have been denied admission to a protective order, had admission
revoked, or have been found to have violated a protective order issued by any administrative or judicial
tribunal:
_____________________________________________________________________________________
 None
      8. I [inside counsel] have attached a detailed narrative providing the following information:
               a. my position and responsibilities as in-house counsel, including my role in providing advice
               in procurement-related matters;
               b. the person(s) to whom I report and their position(s) and responsibilities;
               c. the number of in-house counsel at the office in which I work and their involvement, if any,
               in competitive decision making and in providing advice in procurement-related matters.
               d. my relationship to the nearest person involved in competitive decision making (both in
               terms of physical proximity and corporate structure); and
               e. measures taken to isolate me from competitive decision making and to protect against the
               inadvertent disclosure of protected information to persons not admitted under the Protective
               Order.
      9. I have read the Protective Order issued by the court in this proceeding. I will comply in all respects
with that order and will abide by its terms and conditions in handling any protected information produced
in connection with the proceeding.
      10. I acknowledge that a violation of the terms of the Protective Order may result in the imposition of
such sanctions as may be deemed appropriate by the court and in possible civil and criminal liability.

                                                               ***

     By my signature, I certify that, to the best of my knowledge, the representations set forth above
(including attached statements) are true and correct.

Charles L. Capito III
                  Digitally signed by Charles L. Capito III
___________________________
                  Date: 2019.06.17 15:31:26 -04'00'           June 18, 2019
                                                              ___________________________
Signature                                                     Date Executed
Charles L. Capito III, Associate
___________________________
Typed Name and Title
P: (202) 887-1683 F: (202) 562-6970
___________________________
Telephone & Facsimile Numbers
CCapito@mofo.com
___________________________
E-mail Address

Kevin P. Mullen   Digitally signed by Kevin P. Mullen
___________________________
                  Date: 2019.06.17 15:30:42 -04'00'           June 18, 2019
                                                              ___________________________
Signature of Attorney of Record                               Date Executed
Kevin Patrick Mullen
___________________________
Typed Name and Title
P: (202) 887-1560 F: (202) 785-7623
___________________________
Telephone & Facsimile Numbers
KMullen@mofo.com
___________________________
E-mail Address

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